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 1   Shea C. Meehan, ISB #6407                                      Matt Purcell, Pro Hac Vice
     Jillian Harlington, Pro Hac Vice                                      Purcell Law, PLLC
 2   Walker Heye Meehan & Eisinger, PLLC                         2001 N. Columbia Center Blvd
     1333 Columbia Park Trail, Ste 220                                    Richland, WA 99352
 3   Richland, WA 99352                                             Telephone: (509) 783-7885
     Telephone: (509) 735-4444                                            Fax: (509) 735-7886
 4
     Fax: (509) 735-7140                                            mp@purcellfamilylaw.com
 5   smeehan@walkerheye.com                                              Attorney for Plaintiffs
     jharlington@walkerheye.com
 6   Attorneys for Plaintiffs

 7

 8
                            IN THE UNITED STATES DISTRICT COURT
 9
                                   FOR THE DISTRICT OF IDAHO
10
     KELLI ROWLETTE, an individual, SALLY
11   ASHBY, an individual, and HOWARD
     FOWLER, an individual,                          Cause No. 4:18-cv-143-DCN
12
                              Plaintiffs,
13   v.
                                                     MEMORANDUM IN OPPOSITION TO
14                                                   DEFENDANTS’ MOTIONS TO DISMISS
     GERALD E. MORTIMER, M.D., LINDA G.
     McKINNON MORTIMER, and the marital              (ECF 16, 17)
15
     community comprised thereof, and
16   OBSTETRICS AND GYNECOLOGY
     ASSOCIATES OF IDAHO FALLS, P.A, an
17   Idaho professional corporation,

18                              Defendants.
19

20          COME NOW, the Plaintiffs, by and through their counsel of record, and submit the

21   following Memorandum in Opposition to Defendants Gerald E. Mortimer And Linda G.

22   Mckinnon Mortimer’s Motion to Dismiss (ECF 16), and Defendant Obstetrics and Gynecology

23   Associates, P.A., Motion to Dismiss (ECF 17).

24

25


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 1                                      I.      LEGAL ANALYSIS

 2          A.      Legal Standard on Motion to Dismiss.
 3          A motion to dismiss made pursuant to Federal Rule of Civil Procedure 12(b)(6) tests the
 4
     sufficiency of a party's claim for relief. When considering such a motion, the Court's inquiry is
 5
     whether the allegations in a pleading are sufficient under applicable pleading standards. Federal
 6
     Rule of Civil Procedure 8(a) sets forth minimum pleading rules, requiring only a “short and plain
 7
     statement of the claim showing that the pleader is entitled to relief.” Fed. R. Civ. P. 8(a)(2).
 8
            A motion to dismiss will only be granted if the complaint fails to allege “enough facts to
 9
     state a claim to relief that is plausible on its face.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570
10

11   (2007). “A claim has facial plausibility when the plaintiff pleads factual content that allows the

12   court to draw the reasonable inference that the defendant is liable for the misconduct alleged.”

13   Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (citations omitted).

14          A dismissal without leave to amend “is improper unless it is clear that the complaint

15   could not be saved by any amendment.” Livid Holdings Ltd. v. Salomon Smith Barney, Inc., 416
16   F.3d 940, 946 (9th Cir. 2005). “[I]n dismissals for failure to state a claim, a district court should
17
     grant leave to amend even if no request to amend the pleading was made, unless it determines
18
     that the pleading could not possibly be cured by the allegation of other facts.” Cook, Perkiss and
19
     Liehe, Inc. v. N. Cal. Collection Serv. Inc., 911 F.2d 242, 247 (9th Cir. 1990).
20
            B.      Plaintiff’s Claims are Not Barred by the Statute of Limitations.
21
                    1.      Dr. Mortimer’s argument that he did not engage in fraudulent
22                  concealment because Ms. Ashby consented to an anonymous donor ignores
                    the bilateral nature of the anonymity agreed to.
23
            Dr. Mortimer firsts asks this Court to step into the shoes of a physician and summarily
24

25   determine that when a patient consents to an anonymous donor, that gives a physician carte

     blanche authority to (1) impregnate his own patient without the patient’s knowledge or consent
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 1   and (2) to conceal the matter from the patient to take advantage of the statute of limitations. This

 2   contention is offensive, absurd, and asks the Court to reach an ethically dubious conclusion. At
 3   the very least, evaluation of this question is inappropriate without considering expert medical
 4
     testimony on the issue of the relevant standard of care (i.e. duty).
 5
            In professional malpractice claims, the issues of duty, breach, and proximate cause must
 6
     all be established by expert testimony. I.C. §§ 6-1012, 6-1013; Sheridan v. St. Luke’s Regional
 7
     Medical Center, 135 Idaho 775, 785, 25 P.3d 88 (2001). Plaintiffs allege Dr. Mortimer had a
 8
     professional duty not to impregnate Ms. Ashby using his own sperm and that he breached that
 9
     duty by doing just that—to wit, secretly impregnating Ms. Ashby with his own sperm—despite
10

11   Ms. Ashby’s understanding that the sperm would be that of an anonymous, college student

12   donor. (ECF 1 ¶¶ 26-28).         In their motion, Defendants assert the contrary, and announce

13   without support that a physician has no duty to inform his patient if he plans on impregnating her

14   with his own sperm. (ECF 16, pp. 3-4). In order to accept Dr. Mortimer’s argument, this court

15   would have to rely on information outside the Complaint—specifically, expert testimony as to
16   the standard of care—rendering the question inappropriate to decide on a motion to dismiss
17
     because it goes beyond the pleadings.
18
            Further, Dr. Mortimer’s deeply concerning logic relies entirely on the fact that the donor
19
     was meant to be anonymous. It conveniently avoids the allegation that he did not fit the
20
     parameters of the acceptable donor. (ECF 1 ¶ 16). It also ignores the fact that anonymity is a
21
     two-way street. Ms. Ashby and Mr. Fowler consented to the use of sperm from a donor who
22
     would be anonymous to them, and in turn, that donor would not know who they were, and would
23

24   not know Kelli was his biological daughter. This anonymity was taken from them when Dr.

25   Mortimer decided to father Kelli on his own and watched her grow up knowing she was his


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 1   daughter, all along keeping this secret to himself. Dr. Mortimer’s argument essentially amounts

 2   to a disturbing belief that once a patient assents to an anonymous donor, a physician has free
 3   reign to impregnate her using his own sperm. This suggestion is repugnant to the values of a
 4
     moral and civilized society.
 5
                    2.    Plaintiffs’ claims did not accrue until Plaintiffs’ discovered Dr.
 6                  Mortimer was likely Kelli Rowlette’s biological father.

 7          The Supreme Court of Idaho has held that a cause of action for professional negligence

 8   cannot accrue until some damage has occurred. Stephens v. Stearns, 106 Idaho 249, 254, 678

 9   P.2d 41, 46 (1984). The reason for the “some damage” rule is that “in order to recover under a
10   theory of negligence, the plaintiff must prove actual damage.” Id. “Until some damage occurs, a
11
     cause of action for professional malpractice does not accrue. Therefore, some damage is required
12
     because it would be nonsensical to hold that a cause of action is barred by the statute of
13
     limitations before that cause of action even accrues.” Lapham v. Stewart, 137 Idaho 582, 586, 51
14
     P.3d 396, 400 (2002) (citations omitted).
15
            In the matter before the Court, plaintiffs have alleged that damage did not occur for Mr.
16
     Fowler and Ms. Ashby until they learned of Dr. Mortimer’s violation of their trust. (ECF 1 ¶¶
17

18   22-25). Similarly, Ms. Rowlette was not damaged until she discovered she was the product of a

19   sexual assault perpetrated upon her mother. Id. Thus, the damage to these Plaintiffs occurred, at

20   the earliest, in July 2017, well before the expiration of the two-year statute of limitations.

21          Further, Dr. Mortimer’s argument that plaintiffs failed to take reasonable care to

22   investigate whether they had been damaged is preposterous. Until Ms. Rowlette unilaterally
23   pursued DNA testing for the purpose of genealogical research, the plaintiffs had no reason to
24
     believe Dr. Mortimer would have defrauded them by secretly causing Ms. Ashby to bear his
25
     child. Until the present case was revealed by the filing of this lawsuit, there was no public

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 1   awareness that the defendants had been engaging in this behavior, and thus no information that

 2   Ms. Ashby and Mr. Fowler could have come into contact with that would have roused their
 3   suspicions and triggered a duty to investigate diligently.
 4
             Dr. Mortimer strategically chose his victims and benefitted from the purportedly
 5
     anonymous nature of the procedure. Because of this, any lack of physical resemblance between
 6
     Ms. Rowlette and Mr. Fowler could be reasonably understood by Mr. Fowler and Ms. Ashby to
 7
     be the result of the anonymous donor’s biological influence.          Ms. Rowlette had always
 8
     understood Mr. Fowler to be her biological father, and could not have imagined the situation she
 9
     now finds herself in. Ms. Rowlette had no contact with Dr. Mortimer and had no reason to know
10

11   of his existence. The plaintiffs were not on notice that Dr. Mortimer may have violated their

12   trust until Mr. Fowler and Ms. Ashby learned of the DNA match and Ms. Rowlette learned Dr.

13   Mortimer’s relationship to her parents.       Plaintiffs have presented sufficient facts in their

14   complaint to show that the damage did not occur until the summer of 2017, less than a year

15   before the complaint was filed on March 30, 2018. (ECF 1 ¶ 21).
16           Dr. Mortimer’s argument amounts to a suggestion that any couple that has used sperm
17
     from an anonymous donor to achieve conception has a duty to discover the identity of the
18
     anonymous donor because it is somehow foreseeable that their doctors might be impregnating
19
     them instead. The defendants cannot meet their burden on their motions to dismiss on the basis
20
     of the statute of limitations.
21
                     3.    Tolling for fraudulent concealment applies to all of Plaintiffs’
22                   personal injury claims.
23           Dr. Mortimer next claims that several of plaintiffs’ claims are not tolled for fraudulent
24
     concealment under Idaho law. Dr. Mortimer’s distorted reading of the tolling rule contained in
25


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 1   Idaho Code § 5-219(4) misstates the law. The statute of limitations reads in pertinent part as

 2   follows:
 3          4.      An action to recover damages for professional malpractice, or for an injury
            to the person,… caused by the wrongful act or neglect of another, including any
 4
            such action arising from breach of an implied warranty or implied covenant;
 5          provided, however … when the fact of damage has, for the purpose of escaping
            responsibility therefor, been fraudulently and knowingly concealed from the
 6          injured party by an alleged wrongdoer standing at the time of the wrongful act,
            neglect or breach in a professional or commercial relationship with the injured
 7          party, the same shall be deemed to accrue when the injured party knows or in the
            exercise of reasonable care should have been put on inquiry regarding the
 8          condition or matter complained of[.] … [a]n action within the foregoing …
            fraudulent concealment exceptions must be commenced within one (1) year
 9          following the date of accrual as aforesaid or two (2) years following the
            occurrence, act or omission complained of, whichever is later. The term
10          “professional malpractice” as used herein refers to wrongful acts or omissions in
11          the performance of professional services by any person, firm, association, entity
            or corporation licensed to perform such services under the law of the state of
12          Idaho.

13   I.C. § 5-219(4).

14          The statute, by its plain language, incorporates not just negligence, but also wrongful acts

15   and breaches that result in injury when the tortfeasor is licensed to perform such services by the
16   State of Idaho. Id. It is the relationship of the tortious party to the harmed party that dictates
17
     whether the tolling rule applies, not whether the act complained of is specifically tied to a breach
18
     of the medical standard of care. Id. In short, the analysis turns on the relationship of the parties
19
     at the time of the act, not whether the act qualifies as a professional breach. This logic
20
     acknowledges that professionals such as physicians have a unique and heightened duty of candor
21
     towards their patients. Dr. Mortimer offers a strained, piece-meal argument to absolve himself
22
     of liability for impregnating his own patient with his own sperm and without her consent.
23

24          Dr. Mortimer relies heavily on Glaze v. Deffenbaugh for the proposition that I.C. § 5-

25   219(4) only applies to instances of medical negligence. Importantly, Glaze does not discuss the


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 1   application of the tolling provision in the medical setting and has no applicability to the present

 2   matter. 144 Idaho 829, 831, 172 P.3d 1104 (2007). The plaintiffs in Glaze sued their father
 3   under theories of battery and assault for sexually molesting them as children. Id. In affirming
 4
     the trial court’s decision to dismiss their claims on summary judgment, the Idaho Supreme Court
 5
     highlighted that it is the relationship between the parties that informs application of the tolling
 6
     provisions. Id. at 832. Specific to the facts in Glaze, the court noted that the parent-child
 7
     relationship did not fall under the tolling provisions of I.C. § 5-219(4):
 8
             Counsel for the daughters argued that they are entitled to the fraudulent
 9           concealment exception in I.C. § 5–219(4) because the parties were in a parent-
             child relationship and because Deffenbaugh concealed his alleged molestation of
10           each daughter from the other. It is asserted that the concealment ended only in
11           2003 when each daughter learned that the other had been molested and
             Deffenbaugh purportedly admitted to the molestation. This contention is without
12           merit. I.C. § 5–219(4) applies to professional malpractice claims, not claims of the
             nature alleged in this case.
13
     Id. The holding of the Glaze court clearly hinged on the relationship of the parties, and the
14
     general reference to professional malpractice is merely dicta, not crafted thoughtfully by the
15
     court for application to the present case. Clearly the tolling provisions of Idaho Code § 5-219(4)
16
     apply to all of Plaintiffs’ claims for personal injury.
17

18                           a)     Tolling for fraudulent concealment applies to Dr. Mortimer’s
                             breach of his duty to obtain informed consent.
19
             Dr. Mortimer argues that because the tort of failure to obtain informed consent is a
20
     separate cause of action from medical negligence, the tolling provision cannot apply. This
21
     reading of the statute is strained and would lead to an absurd result.
22
             Failure to obtain informed consent is a separate cause of action from medical negligence.
23

24   Foster v. Traul, 141 Idaho 890, 894, 120 P.3d 278 (2005). At the time of Dr. Mortimer’s acts,

25   Idaho courts had acknowledged a physicians’ duty to disclose the material aspects of a course of


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 1   treatment to the patient to enable the patient to make an informed decision regarding treatment.

 2   See LePelley v. Grefenson, 101 Idaho 422, 614 P.2d 962 (1980) (superseded by statute).
 3   Notably, Dr. Mortimer never denies impregnating Ms. Ashby with his own sperm and never
 4
     alleges that he informed Ms. Ashby and Mr. Fowler of his intentions to use his own sperm.
 5
            The tolling provision plainly applies in the instant matter because Dr. Mortimer had a
 6
     professional relationship with Ashby and Fowler as their physician, and Dr. Mortimer breached
 7
     his duty to inform his patients of material aspects of the course of treatment—that he would take
 8
     the opportunity to impregnate Ms. Ashby himself, rather than obtaining sperm from an
 9
     anonymous donor with particular characteristics, as they had requested and authorized.
10

11                          b)      Tolling for fraudulent concealment applies to the tortious
                            injuries Dr. Mortimer perpetuated against the Plaintiffs.
12
            Plaintiffs’ claims for intentional and negligent infliction of emotional distress are tolled
13
     by I.C. § 5-219(4)’s fraudulent concealment provision. Plaintiffs have alleged that:
14
            [I]nstead of using donor genetic material and Mr. Fowler’s genetic material as
15          promised, Dr. Mortimer inseminated Ms. Ashby with his own genetic material.
            Dr. Mortimer falsely represented that he had used donor genetic material and Mr.
16          Fowler’s genetic material, and intentionally concealed this fact from Ms. Ashby
            and Mr. Fowler. Dr. Mortimer did not match the donor specifications Ms. Ashby
17          and Mr. Fowler agreed to.
18
     (ECF 1 ¶ 16). Plaintiffs further alleged that “Dr. Mortimer fraudulently and knowingly concealed
19
     his use of his own genetic material in the Procedure.” (ECF 1 ¶ 20). These allegations must be
20
     taken at face value on a motion to dismiss. The question before this Court is whether the facts
21
     alleged in the complaint give rise to a reasonable inference of fraudulent and intentional
22
     concealment. Since the answer to the query is “yes,” Plaintiffs’ claims cannot be dismissed on
23
     statute of limitations grounds.
24

25          The tolling provision of I.C. § 5-219(4) applies to tortious injury occurring as a result of

     wrongful actions or neglect by a professional, as opposed to a lay person. I.C. § 5-219(4) (“An
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 1   action to recover damages for … an injury to the person, … caused by the wrongful act or

 2   neglect of another …”). Rather than limiting the tolling provision to negligent acts alone, the
 3   Legislature specifically provided tolling relief for other types of wrongful actions committed in
 4
     the context of a professional relationship. Indeed, it would be absurd if injured party did not
 5
     receive the benefit of tolling for willful and intentional acts in the same manner as if the conduct
 6
     against them were merely negligent. Clearly, Plaintiffs’ personal injury claims are tolled by Dr.
 7
     Mortimer’s fraudulent concealment that he used his own sperm to impregnate Ms. Ashby.
 8
            The Plaintiffs have alleged that they agreed to the use of sperm from a donor matching
 9
     characteristics Dr. Mortimer did not fit at the time of the procedure. (ECF 1 ¶ 16). Plaintiffs
10

11   have also alleged that Dr. Mortimer knew Ms. Rowlette was his daughter and cried when the

12   family informed him they would be moving to Washington State. (ECF 1 ¶ 20). This Court has

13   sufficient facts before it to conclude that Dr. Mortimer knowingly and fraudulently concealed

14   what he had done to this family. The defendants’ motions to dismiss must be denied.

15                          c)     Plaintiffs were all patients of Dr. Mortimer and OGA.
16          It is undisputed that Ms. Ashby was the defendants’ patient. Defendants want to argue,
17   however, that Mr. Fowler and Ms. Rowlette were never patients, and thus have no standing in
18   this lawsuit. This contention is baseless, and defendants’ motions to dismiss based on this
19   argument must be denied. A physician-patient relationship is established when a physician uses
20   their specialized training to diagnose or treat an individual’s medical condition. Pines v. Idaho
21   State Bd. Of Medicine, 158 Idaho 745, 754-55, 351 P.3d 1203 (2015).
22          Plaintiffs have alleged in their complaint that both Mr. Fowler and Ms. Rowlette were
23   patients of Dr. Mortimer and OGA. (ECF 1 ¶¶ 10, 27). Plaintiffs have alleged that Dr. Mortimer
24   diagnosed Mr. Fowler with low sperm count and low motility. (ECF 1 ¶ 11). Plaintiffs have
25   also alleged that when she was born, Ms. Rowlette was delivered by Dr. Mortimer, and Dr.


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 1   Mortimer signed her birth certificate, attesting as a medical professional to her live birth, another

 2   medical diagnosis. (ECF 1 ¶¶ 19, 24). On a motion to dismiss the Court is required to take the

 3   plaintiffs’ factual contentions in the complaint as true, and if those facts lead to a reasonable

 4   inference supporting the claim alleged, the Court cannot dismiss the matter. Twombly, 550 U.S.

 5   at 570. In light of the fact that Dr. Mortimer rendered a diagnosis and a course of treatment for

 6   Howard Fowler, and delivered Kelli Rowlette, attesting to her live birth, this Court must

 7   conclude that Plaintiffs have pled sufficient facts to survive the defendants’ motion to dismiss on

 8   the basis that Ms. Rowlette and Mr. Fowler were not patients of Dr. Mortimer and OGA.

 9                    4.      Even if Tolling for Fraudulent Concealment Isn’t Applicable,
                      Plaintiffs’ Emotional Distress Claims Are Not Barred by the Statute of
10                    Limitations.
11             Claims for emotional distress are properly considered continuing torts. Curtis v. Firth,
12   123 Idaho 598, 604, 850 P.2d 749 (1993). The statute of limitations on continuing torts does not
13   begin to run until the tortious act ceases. Id. Dr. Mortimer continued to conceal his battery and
14   his fraud and allowed this family to believe that Ms. Rowlette had been conceived either with the
15   use of Mr. Fowler’s sperm, or the use of sperm from an anonymous donor. (ECF 1 ¶ 20-21).
16             The Idaho Supreme Court has adopted the view that a continuing tort tolls the limitations
17   period:
18             It is well-settled that “[w]hen a tort involves continuing injury, the cause of action
               accrues, and the limitation period begins to run, at the time the tortious conduct
19             ceases.” Since usually no single incident in a continuous chain of tortious activity
               can “fairly or realistically be identified as the cause of significant harm,” it seems
20
               proper to regard the cumulative effect of the conduct as actionable. Moreover,
21             since “one should not be allowed to acquire a right to continue the tortious
               conduct,” it follows logically that statutes of limitation should not run prior to its
22             cessation.

23   Curtis v. Firth, 123 Idaho 598, 603, 850 P.2d 749 (1993) (quoting with approval from Page v.

24   United States, 729 F.2d 818, 821–22 (D.C.Cir.1984)). The Court then held that because the

25   abuse suffered by the plaintiff was a continuing one, the limitation period did not begin to run


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 1   until the tortious behavior had ended. A continuing tort was defined as “one inflicted over a

 2   period of time; it involves a wrongful conduct that is repeated until desisted, and each day

 3   creates a separate cause of action.” Id. Only when such tortious conduct ends does the limitations

 4   period begin to run. Id.

 5          Defendants suggest that Dr. Mortimer’s misconduct ceased in the summer of 1980, and

 6   thus imply that the fraud he perpetuated on this family was not of a continuing nature.

 7   Defendants will likely rely on Glaze v. Deffenbaugh to support their position. In Glaze, The

 8   Idaho Supreme Court rejected the contention that a father’s molestation of his daughters was a

 9   continuing tort. 144 Idaho at 833. Glaze is clearly distinguishable from the present case. In

10   Glaze the court based its conclusion on the fact that the father’s molestation had ceased in 1979.

11   Id. From 1979 to the time the case was filed, the daughters knew the wrong which had been

12   committed against them by their father and no further acts took place. Id. In contrast, Dr.

13   Mortimer has continued each day for several decades his deception regarding impregnating his

14   patient with his own sperm. This continued deception constitutes a continuing tort.

15                  5.     Equitable Estoppel Prohibits Dr. Mortimer and OGA From
                    Benefitting from A Statute of Limitations Defense Based on Their
16                  Concealment of Material Facts.
17          All of plaintiffs’ claims should survive the defendants’ motions to dismiss on grounds of
18   the statute of limitations under the principles of equitable estoppel. Idaho Courts have long
19
     recognized that a party can be estopped from pleading a statute of limitations defense when the
20
     defendant’s own actions prevented the discovery of the harm in time to bring a claim within the
21
     time permitted by statute. See Twin Falls Clinic & Hospital Building Corp. v. Hamill, 103 Idaho
22
     19, 644 P.2d 341 (1982); Tommerup v. Albertson's, Inc., 101 Idaho 1, 607 P.2d 1055 (1980);
23
     Idaho Title Co. v. American States Ins. Co., 96 Idaho 465, 531 P.2d 227 (1975); Bjornstad v.
24
     Perry, 92 Idaho 402, 443 P.2d 999 (1968).         In this case, equitable estoppel prevents Dr.
25
     Mortimer from benefitting from the fraud he perpetrated upon this family.
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 1          “Equitable estoppel is available to a plaintiff when the defendants, by their

 2   representations or conduct, kept the plaintiff from pursuing a cause of action during the
 3   limitation period.” Knudsen v. Agee, 128 Idaho 776, 779, 918 P.2d 1221 (1996). As a general
 4
     rule, a defendant will be estopped from asserting a statute-of-limitations defense when its own
 5
     prior representations or conduct have caused the plaintiff to run afoul of the statute and it is
 6
     equitable to hold the defendant responsible for that result. See Borzeka v. Heckler, 739 F.2d 444,
 7
     448 n. 3 (9th Cir. 1984); Travelers Express Co. v. Cory, 664 F.2d 763 (9th Cir. 1981).
 8
            Equitable estoppel prevents assertion of a statute of limitations under circumstances that
 9
     would be wholly inequitable. In Twin Falls Clinic & Hospital Bldg. Corp. v. Hamill, 103 Idaho
10

11   19, 644 P.2d 341 (1982), the Supreme Court of Idaho considered whether a plaintiff may invoke

12   the doctrine of equitable estoppel in a professional malpractice action in order to prevent the

13   defendant from asserting the statute of limitations set forth in Idaho Code § 5-219. The action

14   alleged that the defendant architect fraudulently concealed the cause of an injury. The defendant

15   argued that by enacting Idaho Code § 5-219 the Idaho legislature precluded the use of the
16   doctrine of equitable estoppel as a bar to a statute-of-limitations defense, at least in professional
17
     malpractice cases. The Idaho Supreme Court determined that the legislature did not intend to
18
     limit the right of plaintiffs to invoke the doctrine of equitable estoppel by enacting section 5-219:
19
            We find no intent, either explicit or implicit, in the language of I.C. § 5-219 to
20          eliminate the doctrine of equitable estoppel in professional malpractice actions.
            Estoppel is a long-accepted portion of Anglo-American jurisprudence. In one of
21          this Court's early decisions, Fremont County v. Warner, 7 Idaho 367, 370, 63 P.
            106, 107 (1900), it was stated that estoppel as a principle is “so well established ...
22          that it needs no citation of authority to support it.” Since estoppel is found in the
            common law, statutory changes therein are not presumed but must be shown by a
23
            clear intent to alter or oppose the common law or repeal it by necessary
24          implication.

25   Id. 103 Idaho at 21-22 (citations omitted).

            To be entitled to equitable estoppel, the plaintiff must show:
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 1          (1) a false representation or concealment of a material fact with actual or
            constructive knowledge of the truth, (2) the party asserting estoppel did not know
 2          or could not discover the truth, (3) the false representation or concealment was
            made with the intent that it be relied upon, and (4) the person to whom the
 3          representation was made or from whom the facts were concealed, relied and acted
            upon the representation or concealment to his [or her] prejudice.
 4

 5   Twin Falls Clinic & Hosp. Bldg., 103 Idaho at 22.

 6          This case is a prime example of why the courts have adopted the principals of equitable

 7   estoppel to secure justice for aggrieved parties. At the time Dr. Mortimer impregnated Ms.

 8   Ashby, he believed he could do so with perpetual anonymity as the medical profession did not

 9   know what would one day be possible with genetic testing. Dr. Mortimer used this to his benefit
10   and thought his secret would be lost to time. Fortunately, the law does not allow individuals
11   such as Dr. Mortimer to benefit from their calculated dishonesty.
12
                           a)     Dr. Mortimer knowingly falsely represented the material fact that
13                         he inseminated Ms. Ashby with his own sperm.

14          Dr. Mortimer, individually as a physician and as a representative, employee, and

15   principal of OGA, falsely represented to Ms. Ashby and Mr. Fowler that the sperm used in the

16   insemination procedure which resulted in Ms. Rowlette’s conception, was sperm from an

17   anonymous donor that attended college, had brown hair, blue eyes, and was over 6 feet tall.
18   (ECF 1 ¶¶ 4, 6, 10, 12-14). Dr. Mortimer instead impregnated his patient with his own sperm,
19
     despite not fitting these characteristics and despite the fact that Ms. Ashby and Mr. Fowler were
20
     not anonymous to him. (ECF 1 ¶ 16). Dr. Mortimer knew he fathered Ms. Rowlette and cried
21
     when he learned the family would be leaving Idaho Falls. (ECF 1 ¶ 20). Plaintiffs have
22
     undeniably pleaded facts supporting an inference that Dr. Mortimer made a false representation
23
     of a material fact—the first element of equitable estoppel.
24

25


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 1                         b)     Ms. Ashby and Mr. Fowler did not know and could not have
                           discovered that Dr. Mortimer had fathered Ms. Rowlette.
 2
            Equitable estoppel does not eliminate, toll, or extend the statute of limitations. J.R.
 3
     Simplot Co. v. Chemetics Int'l, Inc., 126 Idaho 532, 887 P.2d 1039 (1994). Instead, it bars a
 4
     party from asserting the statute of limitations as a defense. Id. That bar lasts only for a
 5

 6   reasonable time after the party asserting estoppel discovers or reasonably could have discovered

 7   the truth. Knudsen v. Agee, 128 Idaho 776, 918 P.2d 1221 (1996); Anderson v. Anderson,

 8   Kaufman, Ringert and Clark, Chartered, 116 Idaho 359, 775 P.2d 1201 (1989). In Ms. Ashby

 9   and Mr. Fowler’s case, that time occurred in the summer of 2017.
10          Ms. Ashby and Mr. Fowler did not know that Dr. Mortimer used his own sperm to
11
     impregnate Ms. Ashby. (ECF 1 ¶¶ 16-17). In fact, because the nature of the sperm donation was
12
     to be anonymous—both to the donor and to the recipients—reasonable minds can conclude that
13
     Ms. Ashby and Mr. Fowler were led into a false sense of security and dissuaded from
14
     investigating by the terms of the agreement with their doctor. Under these circumstances, Mr.
15
     Fowler and Ms. Ashby cannot be said to have acted unreasonably by not actively seeking to
16
     discover Ms. Rowlette’s paternity.
17

18          Dr. Mortimer wants to point to the availability of paternity testing in 1996 to suggest that

19   the means were available, and the plaintiffs were therefore not diligent in discovering his secret.

20   Dr. Mortimer fails to acknowledge that in order to determine paternity, you must have a

21   suspicion as to the putative father, and access to their DNA. Even if Ms. Ashby and Mr. Fowler

22   had discovered Mr. Fowler was not Ms. Rowlette’s biological father, it would bring them no
23   closer to discovering that Dr. Mortimer had used his own sperm rather than that of a donor. In
24
     fact, such a finding would be unsurprising considering their knowledge of the donation process.
25


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 1          Even if Ms. Ashby and Mr. Fowler had suspected Dr. Mortimer from the start, Dr.

 2   Mortimer would have to assent to such a test, which is unlikely considering his current refusal to
 3   do so. Plaintiffs’ have presented sufficient facts to lead a reasonable person to conclude they did
 4
     not know of Dr. Motimer’s actions and could not have discovered them prior to the summer of
 5
     2017. Thus, the second element of equitable estoppel is met.
 6
                           c)     Dr. Mortimer intended that Ms. Ashby and Mr. Fowler rely on
 7                         his representation that the donor sperm was not his.

 8          Dr. Mortimer could have offered his sperm outright to couples seeking to conceive, but

 9   he did not do so for at least two reasons: (1) it would violate the standard of care; and (2) he
10   intended that the patients he impregnated would never come to find out that he had secretly
11
     fathered their children for obvious reasons. Dr. Mortimer’s current refusal to participate in
12
     paternity testing proves this point. Dr. Mortimer knew at the time he impregnated Ms. Ashby that
13
     he did not fit their required parameters and was not an anonymous donor, and that he would risk
14
     losing his business, his medical license and his opportunity to impregnate her if he was honest.
15
     The third element of equitable estoppel is easily met.
16
                           d)     Mr. Fowler and Ms. Ashby relied on Dr. Mortimer’s
17                         representations to their prejudice.
18
            Ms. Ashby and Mr. Fowler clearly relied on Dr. Mortimer’s representations and agreed to
19
     go through with the procedure. (ECF 1 ¶ 16-17). This reliance directly caused the damage they
20
     now complain of, as well as the passage of time Dr. Mortimer now wishes to take advantage of
21
     for his statute of limitations defense. This family’s reliance on Dr. Mortimer’s word for the last
22
     several decades helped him conceal his wrongdoing in an attempt to escape liability.
23
            This court should not allow Dr. Mortimer and OGA to avail themselves of a statute of
24

25   limitations defense and escape liability for the atrocious fraud that has been perpetuated against



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 1   Ms. Ashby and Mr. Fowler. Equitable estoppel clearly applies in the present case, and the

 2   defendants’ motion to dismiss based on the statute of limitations should be denied.
 3          C.    Plaintiffs Have Pled Sufficient Facts to Maintain A Claim for Lack of
            Informed Consent.
 4
            Defendants argue that there is no material risk in Dr. Mortimer’s decision to care for and
 5
     deliver his biological daughter, Ms. Rowlette. This argument attempts to misdirect the Court by
 6
     failing to acknowledge the full requirements of informed consent in Idaho.
 7
            At the time of Dr. Mortimer’s acts, Idaho courts had acknowledged a physicians’ duty to
 8
     disclose the material aspects of a course of treatment to the patient to enable the patient to make
 9
     an informed decision regarding treatment. See LePelley v. Grefenson, 101 Idaho 422, 614 P.2d
10
     962 (1980) (superseded by statute) (adopting Riedinger v. Colburn, 361 F. Supp. 1073, 1076 (D.
11
     Idaho 1973). The Riedinger Court acknowledged a physicians’ duty to disclose the risks of a
12
     given procedure, characterizing this as a “minimal disclosure” and adding that “a doctor must
13
     also reveal to his patient such additional information as a skilled practitioner of good standing
14
     would provide under similar circumstances.”          Plaintiffs’ allege that an OB/GYN in good
15
     standing practicing in Idaho Falls, Idaho in 1980 would disclose his intention to impregnate his
16
     patient before endeavoring to do so.
17
            In the absence of an emergency, a healthcare provider must offer pertinent information to
18
     his or her patients, and the failure to do so is a grave affront to their rights to self-determination
19
     and bodily autonomy. See Pekera v. Purpora, 80 Conn. App. 685, 836 A.2d 1253, 1256 (2003),
20
     aff'd, 273 Conn. 348, 869 A.2d 1210 (2005); McQuitty v. Spangler, 410 Md. 1, 976 A.2d 1020,
21
     1031 (2009); Canesi ex rel. Canesi v. Wilson, 158 N.J. 490, 730 A.2d 805, 812 (1999); Roger L.
22
     Jansson, Note, Researcher Liability for Negligence in Human Subject Research: Informed
23
     Consent and Researcher Malpractice Actions, 78 Wash. L. Rev. 229, 244 (2003).
24
            The Court has sufficient information in the Plaintiffs’ complaint to find a plausible
25
     argument exists for the breach of Dr. Mortimer’s duty to obtain informed consent. To the extent

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 1   the Court requires additional specificity, Plaintiffs request leave of court to amend their

 2   complaint accordingly.

 3          D.      Plaintiffs’ Claims Are Not Subject to the Gravamen Analysis.

 4          Plaintiffs agree that other causes of action are generally prohibited where the damage a

 5   plaintiff complains of primarily sounds in medical malpractice. Hoover v. Hunter, 150 Idaho
 6   658, 663, 249 P.3d 851, 856 (2011). Consequently, Ms. Ashby wishes to clarify that, provided
 7
     her medical malpractice claim is not dismissed, she will only pursue Dr. Mortimer and OGA for
 8
     the claims of medical malpractice and failure to obtain informed consent. Thus, the gravamen
 9
     analysis as to Ms. Ashby is an unnecessary exercise.
10
            Further, Mr. Fowler and Ms. Rowlette will clarify that they are not pursuing claims under
11
     theories of medical malpractice or failure to obtain informed consent as to their own medical
12
     treatment, only because their damage does not arise from Dr. Mortimer’s negligence in their
13

14   care. Nevertheless, Ms. Rowlette and Mr. Fowler have remaining claims they are entitled to

15   pursue against Dr. Mortimer and OGA that do not arise directly from the provision of medical

16   care as to them.

17          It does not follow, however, that Defendants owed no separate common law, statutory, or

18   contractual duty to Ms. Rowlette and Mr. Fowler. Idaho courts have not addressed the context
19   where a physician impregnates his own patient without her consent or the consent of her
20
     husband, causing damage to both spouses and the resultant child. However, logic dictates that
21
     where a physician otherwise injures a patient outside the context of providing medical care to
22
     such person, that physician cannot rely on a gravamen analysis to avoid culpability for wrongful
23
     actions. For instance, had the subject of this suit been an auto accident between Dr. Mortimer
24
     and the Plaintiffs, Dr. Mortimer would not be able to avoid liability by virtue of his physician-
25
     patient relationship to the persons in the vehicle. Nor can Dr. Mortimer now avoid liability for
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 1   his actions harming Mr. Fowler and Ms. Rowlette because he happened to be their physician at

 2   the time of the injury. Indeed, Dr. Mortimer admits that the harm complained of had nothing to
 3   do with treating Mr. Fowler and Ms. Rowlette.
 4
            Defendants confusingly argue that Dr. Mortimer did not have a patient-physician
 5
     relationship with Mr. Fowler and Ms. Rowlette, but then argue that they are precluded from
 6
     bringing claims other than medical-malpractice based on a gravamen analysis. Defendants
 7
     cannot have it both ways. Both Mr. Fowler and Ms. Rowlette were foreseeable plaintiffs at the
 8
     time Dr. Mortimer decided to impregnate Ms. Ashby without her consent and in violation of the
 9
     agreement he had with Ms. Ashby and Mr. Fowler.
10

11          While acting as their physician, Dr. Mortimer, and thus OGA, perpetuated wrongful acts

12   against these plaintiffs that occurred outside of the scope of their medical care, but in the context

13   of a physician-patient relationship. Thus, a gravamen analysis as to Ms. Rowlette and Mr.

14   Fowler is inapplicable.

15          E.      Plaintiffs Have Pled Sufficient Facts to Maintain A Claim for Intentional
            Infliction of Emotional Distress.
16
            In Idaho, a claim for intentional infliction of emotional distress requires a plaintiff to
17

18   show that (1) the defendant's conduct was intentional or reckless, (2) the conduct was extreme

19   and outrageous, (3) there was a causal connection between the conduct and the emotional

20   distress, and (4) the emotional distress was severe. See Nation v. State Dep't of Correction, 144

21   Idaho 177, 192, 158 P.3d 953 (2007). “Unlike the tort of negligent infliction of emotional

22   distress, intentional infliction of emotional distress does not require injury or a physical
23   manifestation resulting from emotional turmoil.” Alderson v. Bonner, 142 Idaho 733, 741, 132
24
     P.3d 1261 (Id. Ct. App. 2006) (citing Curtis v. Firth, 123 Idaho 598, 601, 850 P.2d 749 (1992)).
25
     However, the plaintiff must show both outrageous conduct and severe emotional distress.

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 1   Hatfield v. Max Rouse & Sons Northwest, 100 Idaho 840, 849, 606 P.2d 944 (1980) (overruled

 2   on other grounds by Brown v. Fritz, 108 Idaho 357, 359–60, 699 P.2d 1371 (1985). The distress
 3   must be so severe that “no reasonable man could be expected to endure it.” Davis v. Gage, 106
 4
     Idaho 735, 741, 682 P.2d 1282 (Id. Ct. App. 1984) (citations omitted).
 5
            In Idaho, a claim for negligent infliction of emotional distress requires a showing of the
 6
     following elements: (1) a legally recognized duty, (2) a breach of that duty, (3) a causal
 7
     connection between the defendant's conduct and the breach, and (4) actual loss or damage.
 8
     Johnson v. McPhee, 147 Idaho 455, 466, 210 P.3d 563 (Idaho Ct. App. 2009) (citing Brooks v.
 9
     Logan, 903 P.2d 73, 78 (1995) (superseded by statute on other grounds)). Negligent infliction of
10

11   emotional distress also requires there to be some physical manifestation of the plaintiff's

12   emotional injury. Frogley v. Meridian Joint Sch. Dist. No. 2, 155 Idaho 558, 569, 314 P.3d 613,

13   624 (2013); Sommer v. Elmore Cnty., 903 F.Supp.2d 1067, 1075 (D. Idaho 2012).

14          Defendants contend that Plaintiffs have failed to clearly delineate their actual damages

15   and their physical manifestations of emotional distress. To the contrary, Plaintiffs have alleged
16   that they were “devastated,” that Mr. Fowler and Ms. Ashby “painfully labored over whether to
17
     tell Mrs. Rowlette,” that they “struggled to cope with their own anguish,” that Ms. Rowlette was
18
     “horrified,” and that all of them have “been suffering immeasurably.” (ECF 1 ¶¶ 22-25). These
19
     are sufficient facts for the Court to find sufficient facts to present the question to a jury. To the
20
     extent the Court disagrees, Plaintiffs are prepared, and request leave, to amend their Complaint
21
     to detail their diagnosis of PTSD, the panic attacks, periods of depression and severe anxiety, and
22
     their inability to work as a result of their emotional crises, resulting in lost wages.
23

24          F.      Linda Mortimer is a Proper Defendant.

25          Defendants argue that including Linda Mortimer as a defendant “does not affect the

     status of the couple’s community property.” (ECF 16, p. 15) (citing Twin Falls Bank & Trust
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 1   Co. v. Holly, 111 Idaho 349, 353, 723 P.2d 893 (1986). Notably, however, the court in Holly

 2   confirmed that community property may be reached by a creditor of one spouse:
 3           [U]nder the community property system in Idaho and I.C. § 32–912 … when
             either member of the community incurs a debt for the benefit of the community,
 4
             the property held by the marital community becomes liable for such a debt and the
 5           creditor may seek satisfaction of his unpaid debt from such property.

 6   Id. (citing Simplot v. Simplot, 96 Idaho 239, 526 P.2d 844 (1974)).

 7           Defendants insinuate that because the court in Holly dismissed the claims against the

 8   wife, so too must Mrs. Mortimer be dismissed from this lawsuit. The defendants fail to inform
 9   the Court that the result reached in Holly was based on the fact that the defendant was no longer
10   married to the debtor, and the community no longer existed. Thus, the conclusion reached by the
11
     court in Holly is inapposite to the present case. The Court should not be persuaded by the
12
     defendants’ misleading use of the holding in Holly.
13
             The seminal case in Idaho is Hegg v. IRS, wherein the Court evaluated whether “under
14
     Idaho law, if one spouse commits fraud during marriage and thereby incurs a debt, may
15
     community assets be reached to satisfy that debt even if the other spouse is completely innocent
16
     of the fraud and has no personal liability for the debt?” 136 Idaho 61, 62, 28 P.3d 1004 (2001).
17

18           The Court, in its conclusion, answered simply:

19           Community assets may be reached to satisfy a debt incurred by one spouse's fraud
             committed during marriage even if the other spouse is completely innocent of the
20           fraud and has no personal liability where the fraud benefits the community or
             occurs during the spouse's management of the community.
21
     Id. at 63.
22
             Here, the argument is analogous: Dr. Mortimer committed a fraud from which the
23

24   Mortimer community greatly benefited and thus, should be held responsible.

25


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 1                                       II.    CONCLUSION

 2          In consideration of the arguments and authority presented herein, the Plaintiffs

 3   respectfully request that the Court deny Defendants motions to dismiss (ECF 16, 17).
 4          DATED this 8th day of August, 2018.
 5
                                                      s/Jillian A. Harlington
 6                                                    Shea C. Meehan, ISB #6407
                                                      Jillian A. Harlington, Pro Hac Vice
 7                                                    Attorneys for Plaintiffs
                                                      Walker Heye Meehan & Eisinger, PLLC
 8
                                                      1333 Columbia Park Trail, Ste 220
 9                                                    Richland, WA 99352
                                                      Telephone: (509) 735-4444
10                                                    Fax: (509) 735-7140
                                                      E-mail: smeehan@walkerheye.com;
11                                                    jharlington@walkerheye.com
12
                                                      Mathew M. Purcell, Pro Hac Vice
13                                                    Attorneys for Plaintiffs
                                                      Purcell Law, PLLC
14                                                    2001 N. Columbia Center Blvd
                                                      Richland, WA 99352
15
                                                      Telephone: (509) 783-7885
16                                                    Fax: (509) 735-7886
                                                      E-Mail: mp@purcellfamilylaw.com
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 1                                   CERTIFICATE OF SERVICE

 2          I HEREBY CERTIFY that on the 8th day of August, 2018, I filed the foregoing
 3   electronically through the CM/ECF system, which caused the following parties or counsel to be
 4
     served by electronic means, as more fully reflected on the Notice of Electronic Filing:
 5
            J Michael Wheiler:            wheiler@thwlaw.com, dansie@thwlaw.com
 6
            Richard R. Friess:            friess@thwlaw.com, pond@thwlaw.com
 7
            Portia L Rauer:               plr@powerstolman.com, kja@powerstolman.com
 8
            Raymond D Powers:             rdp@powerstolman.com, crb@powerstolman.com
 9
            And I hereby certify that I have mailed by United States Postal Service a copy of the
10

11   document to the following non-CM/ECF participant: NONE.

12

13                                        s/Jillian A. Harlington
                                          Shea C. Meehan, ISB #6407
14                                        Jillian A. Harlington, Pro Hac Vice
                                          Attorneys for Plaintiffs
15                                        Walker Heye Meehan & Eisinger, PLLC
                                          1333 Columbia Park Trail, Ste 220
16                                        Richland, WA 99352
                                          Telephone: (509) 735-4444
17
                                          Fax: (509) 735-7140
18                                        E-mail: smeehan@walkerheye.com;
                                          jharlington@walkerheye.com
19

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